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                                   3                               UNITED STATES DISTRICT COURT

                                   4                           NORTHERN DISTRICT OF CALIFORNIA

                                   5                                     SAN JOSE DIVISION

                                   6

                                   7     JUNHAN JEONG,                                 Case No. 21-cv-02392-BLF
                                   8                  Plaintiff,
                                                                                       ORDER ADVANCING HEARING ON
                                   9            v.                                     MOTION TO DISMISS
                                  10     NEXO FINANCIAL LLC, et al.,
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13         The hearing on the motion to dismiss (ECF No. 56), currently scheduled for July 21, 2022

                                  14   at 9:00 a.m., is ADVANCED to Thursday, June 30, 2022 at 9:00 a.m. via Zoom.

                                  15         IT IS SO ORDERED.

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                                  17   Dated: June 14, 2022

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                                                                                   BETH LABSON FREEMAN
                                  19                                               United States District Judge
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